      Case 1:23-cv-10628-JGLC            Document 82        Filed 01/07/25      Page 1 of 16




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 ANNA KANE,

                         Plaintiff,                   Case No.: 23-cv-10628
            v.
                                                      DEFENDANT SEAN COMBS’
 SEAN COMBS, HARVE PIERRE and                         ANSWER TO THE AMENDED
 THE THIRD ASSAILANT,                                 COMPLAINT

                         Defendants.                  JURY TRIAL DEMANDED




       Defendant, Sean Combs (“Defendant”), by his attorneys, hereby answers the Amended

Complaint of Plaintiff, Anna Kane, as follows:

                                  PRELIMINARY STATEMENT

       1.        The allegations in Paragraph 1 of the Amended Complaint purport to describe a

pleading filed in a different litigation; Defendant refers the Court to that document for a full and

complete recitation of its contents, and otherwise denies the allegations in Paragraph 1 of the

Amended Complaint.

       2.        Defendant denies the allegations in Paragraph 2 of the Amended Complaint.

       3.        The allegations in Paragraph 3 of the Amended Complaint purport to describe

pleadings filed in different litigations; Defendant refers the Court to those documents for a full

and complete recitation of their contents, and otherwise denies the allegations in Paragraph 3 of

the Amended Complaint.

       4.        The allegations in Paragraph 4 of the Amended Complaint purport to describe a

pleading filed in a different litigation; Defendant refers the Court to that document for a full and




                                                  1
      Case 1:23-cv-10628-JGLC           Document 82        Filed 01/07/25      Page 2 of 16




complete recitation of its contents, and otherwise denies the allegations in Paragraph 4 of the

Amended Complaint.

       5.      The allegations in Paragraph 5 of the Amended Complaint purport to describe the

original complaint filed in this action; Defendant refers the Court to that document for a full and

complete recitation of its contents, and otherwise denies the allegations in Paragraph 5 of the

Amended Complaint.

       6.      To the extent the allegations in Paragraph 6 of the Amended Complaint pertain to

Mr. Combs, Defendant denies the allegations in Paragraph 6 of the Amended Complaint. As to

the allegations in Paragraph 6 of the Amended Complaint that pertain to persons other than

Mr. Combs, Defendant lacks knowledge or information sufficient to form a belief as to the truth

of the allegations.

       7.      To the extent the allegations in Paragraph 7 of the Amended Complaint pertain to

Mr. Combs, Defendant denies the allegations in Paragraph 7 of the Amended Complaint. As to

the allegations in Paragraph 7 of the Amended Complaint that pertain to persons other than

Mr. Combs, Defendant lacks knowledge or information sufficient to form a belief as to the truth

of the allegations.

       8.      To the extent the allegations in Paragraph 8 of the Amended Complaint pertain to

Mr. Combs, Defendant denies the allegations in Paragraph 8 of the Amended Complaint. As to

the allegations in Paragraph 8 of the Amended Complaint that pertain to persons other than

Mr. Combs, Defendant lacks knowledge or information sufficient to form a belief as to the truth

of the allegations in Paragraph 8 of the Amended Complaint.

       9.      Paragraph 9 of the Amended Complaint states legal conclusions to which no

response is required.




                                                 2
      Case 1:23-cv-10628-JGLC          Document 82       Filed 01/07/25     Page 3 of 16




                               JURISDICTION AND VENUE

       10.     Paragraph 10 of the Amended Complaint states legal conclusions to which no

response is required.

       11.     Paragraph 11 of the Amended Complaint states legal conclusions to which no

response is required.

                                           PARTIES

       12.     To the extent the allegations in Paragraph 12 of the Amended Complaint pertain

to Mr. Combs, Defendant denies the allegations in Paragraph 12 of the Amended Complaint. As

to the allegations in Paragraph 12 of the Amended Complaint that pertain to persons other than

Mr. Combs, Defendant lacks knowledge or information sufficient to form a belief as to the truth

of the allegations in Paragraph 12 of the Amended Complaint.

       13.     Defendant admits he was the owner of Bad Boy Entertainment Holdings and

Daddy’s House Recordings, Inc., and otherwise denies the allegations in Paragraph 13 of the

Amended Complaint.

       14.     To the extent the allegations in Paragraph 14 of the Amended Complaint pertain

to Mr. Combs, Defendant denies the allegations in Paragraph 14 of the Amended Complaint. As

to the allegations in Paragraph 14 of the Amended Complaint that pertain to persons other than

Mr. Combs, Defendant lacks knowledge or information sufficient to form a belief as to the truth

of the allegations in Paragraph 14 of the Amended Complaint.

       15.     To the extent the allegations in Paragraph 15 of the Amended Complaint pertain

to Mr. Combs, Defendant denies the allegations in Paragraph 15 of the Amended Complaint. As

to the allegations in Paragraph 15 of the Amended Complaint that pertain to persons other than

Mr. Combs, Defendant lacks knowledge or information sufficient to form a belief as to the truth

of the allegations in Paragraph 15 of the Amended Complaint.


                                               3
      Case 1:23-cv-10628-JGLC          Document 82       Filed 01/07/25      Page 4 of 16




       16.    Defendant admits that Daddy’s House Recordings, Inc. is a music, media, and

entertainment company founded by Sean Combs and incorporated and headquartered in New

York, and otherwise denies the allegations in Paragraph 16 of the Amended Complaint.

       17.    Defendant admits that Bad Boy Entertainment Holdings, Inc., is a music, media,

and entertainment company founded by Sean Combs and incorporated in New York, and

otherwise denies the allegations in Paragraph 17 of the Amended Complaint.

                                 FACTUAL ALLEGATIONS

       18.    To the extent the allegations in Paragraph 18 of the Amended Complaint pertain

to Mr. Combs, Defendant denies the allegations in Paragraph 18 of the Amended Complaint. As

to the allegations in Paragraph 18 of the Amended Complaint that pertain to persons other than

Mr. Combs, Defendant lacks knowledge or information sufficient to form a belief as to the truth

of the allegations in Paragraph 18 of the Amended Complaint.

       19.    To the extent the allegations in Paragraph 19 of the Amended Complaint pertain

to Mr. Combs, Defendant denies the allegations in Paragraph 19 of the Amended Complaint. As

to the allegations in Paragraph 19 of the Amended Complaint that pertain to persons other than

Mr. Combs, Defendant lacks knowledge or information sufficient to form a belief as to the truth

of the allegations in Paragraph 19 of the Amended Complaint.

       20.    Defendant denies the allegations in Paragraph 20 of the Amended Complaint.

       21.    To the extent the allegations in Paragraph 21 of the Amended Complaint pertain

to Mr. Combs, Defendant denies the allegations in Paragraph 21 of the Amended Complaint. As

to the allegations in Paragraph 21 of the Amended Complaint that pertain to persons other than

Mr. Combs, Defendant lacks knowledge or information sufficient to form a belief as to the truth

of the allegations in Paragraph 21 of the Amended Complaint.




                                               4
      Case 1:23-cv-10628-JGLC          Document 82       Filed 01/07/25     Page 5 of 16




       22.    To the extent the allegations in Paragraph 22 of the Amended Complaint pertain

to Mr. Combs, Defendant denies the allegations in Paragraph 22 of the Amended Complaint. As

to the allegations in Paragraph 22 of the Amended Complaint that pertain to persons other than

Mr. Combs, Defendant lacks knowledge or information sufficient to form a belief as to the truth

of the allegations in Paragraph 22 of the Amended Complaint.

      23.     To the extent the allegations in Paragraph 23 of the Amended Complaint pertain

to Mr. Combs, Defendant denies the allegations in Paragraph 23 of the Amended Complaint. As

to the allegations in Paragraph 23 of the Amended Complaint that pertain to persons other than

Mr. Combs, Defendant lacks knowledge or information sufficient to form a belief as to the truth

of the allegations in Paragraph 23 of the Amended Complaint.

       24.    To the extent the allegations in Paragraph 24 of the Amended Complaint pertain

to Mr. Combs, Defendant denies the allegations in Paragraph 24 of the Amended Complaint. As

to the allegations in Paragraph 24 of the Amended Complaint that pertain to persons other than

Mr. Combs, Defendant lacks knowledge or information sufficient to form a belief as to the truth

of the allegations in Paragraph 24 of the Amended Complaint.

       25.    To the extent the allegations in Paragraph 25 of the Amended Complaint pertain

to Mr. Combs, Defendant denies the allegations in Paragraph 25 of the Amended Complaint. As

to the allegations in Paragraph 25 of the Amended Complaint that pertain to persons other than

Mr. Combs, Defendant lacks knowledge or information sufficient to form a belief as to the truth

of the allegations in Paragraph 25 of the Amended Complaint.

       26.    To the extent the allegations in Paragraph 26 of the Amended Complaint pertain

to Mr. Combs, Defendant denies the allegations in Paragraph 26 of the Amended Complaint. As

to the allegations in Paragraph 26 of the Amended Complaint that pertain to persons other than




                                               5
      Case 1:23-cv-10628-JGLC          Document 82       Filed 01/07/25     Page 6 of 16




Mr. Combs, Defendant lacks knowledge or information sufficient to form a belief as to the truth

of the allegations in Paragraph 26 of the Amended Complaint.

       27.    To the extent the allegations in Paragraph 27 of the Amended Complaint pertain

to Mr. Combs, Defendant denies the allegations in Paragraph 27 of the Amended Complaint. As

to the allegations in Paragraph 27 of the Amended Complaint that pertain to persons other than

Mr. Combs, Defendant lacks knowledge or information sufficient to form a belief as to the truth

of the allegations in Paragraph 27 of the Amended Complaint.

       28.    To the extent the allegations in Paragraph 28 of the Amended Complaint pertain

to Mr. Combs, Defendant denies the allegations in Paragraph 28 of the Amended Complaint. As

to the allegations in Paragraph 28 of the Amended Complaint that pertain to persons other than

Mr. Combs, Defendant lacks knowledge or information sufficient to form a belief as to the truth

of the allegations in Paragraph 28 of the Amended Complaint.

       29.    To the extent the allegations in Paragraph 29 of the Amended Complaint pertain

to Mr. Combs, Defendant denies the allegations in Paragraph 29 of the Amended Complaint. As

to the allegations in Paragraph 29 of the Amended Complaint that pertain to persons other than

Mr. Combs, Defendant lacks knowledge or information sufficient to form a belief as to the truth

of the allegations in Paragraph 29 of the Amended Complaint.

       30.    To the extent the allegations in Paragraph 30 of the Amended Complaint pertain

to Mr. Combs, Defendant denies the allegations in Paragraph 30 of the Amended Complaint. As

to the allegations in Paragraph 30 of the Amended Complaint that pertain to persons other than

Mr. Combs, Defendant lacks knowledge or information sufficient to form a belief as to the truth

of the allegations in Paragraph 30 of the Amended Complaint.




                                               6
      Case 1:23-cv-10628-JGLC          Document 82       Filed 01/07/25     Page 7 of 16




       31.    To the extent the allegations in Paragraph 31 of the Amended Complaint pertain

to Mr. Combs, Defendant denies the allegations in Paragraph 31 of the Amended Complaint. As

to the allegations in Paragraph 31 of the Amended Complaint that pertain to persons other than

Mr. Combs, Defendant lacks knowledge or information sufficient to form a belief as to the truth

of the allegations in Paragraph 31 of the Amended Complaint.

       32.    To the extent the allegations in Paragraph 32 of the Amended Complaint pertain

to Mr. Combs, Defendant denies the allegations in Paragraph 32 of the Amended Complaint. As

to the allegations in Paragraph 32 of the Amended Complaint that pertain to persons other than

Mr. Combs, Defendant lacks knowledge or information sufficient to form a belief as to the truth

of the allegations in Paragraph 32 of the Amended Complaint.

       33.    To the extent the allegations in Paragraph 33 of the Amended Complaint pertain

to Mr. Combs, Defendant denies the allegations in Paragraph 33 of the Amended Complaint. As

to the allegations in Paragraph 33 of the Amended Complaint that pertain to persons other than

Mr. Combs, Defendant lacks knowledge or information sufficient to form a belief as to the truth

of the allegations in Paragraph 33 of the Amended Complaint.

       34.    To the extent the allegations in Paragraph 34 of the Amended Complaint pertain

to Mr. Combs, Defendant denies the allegations in Paragraph 34 of the Amended Complaint. As

to the allegations in Paragraph 34 of the Amended Complaint that pertain to persons other than

Mr. Combs, Defendant lacks knowledge or information sufficient to form a belief as to the truth

of the allegations in Paragraph 34 of the Amended Complaint.

       35.    To the extent the allegations in Paragraph 35 of the Amended Complaint pertain

to Mr. Combs, Defendant denies the allegations in Paragraph 35 of the Amended Complaint. As

to the allegations in Paragraph 35 of the Amended Complaint that pertain to persons other than




                                               7
      Case 1:23-cv-10628-JGLC          Document 82       Filed 01/07/25     Page 8 of 16




Mr. Combs, Defendant lacks knowledge or information sufficient to form a belief as to the truth

of the allegations in Paragraph 35 of the Amended Complaint.

       36.    Defendant denies the allegations in Paragraph 36 of the Amended Complaint.

       37.    Defendant denies the allegations in Paragraph 37 of the Amended Complaint.

       38.    To the extent the allegations in Paragraph 38 of the Amended Complaint pertain

to Mr. Combs, Defendant denies the allegations in Paragraph 38 of the Amended Complaint. As

to the allegations in Paragraph 38 of the Amended Complaint that pertain to persons other than

Mr. Combs, Defendant lacks knowledge or information sufficient to form a belief as to the truth

of the allegations in Paragraph 38 of the Amended Complaint.

       39.    To the extent the allegations in Paragraph 39 of the Amended Complaint pertain

to Mr. Combs, Defendant denies the allegations in Paragraph 39 of the Amended Complaint. As

to the allegations in Paragraph 39 of the Amended Complaint that pertain to persons other than

Mr. Combs, Defendant lacks knowledge or information sufficient to form a belief as to the truth

of the allegations in Paragraph 39 of the Amended Complaint.

       40.    Defendant denies the allegations in Paragraph 40 of the Amended Complaint.

       41.    To the extent the allegations in Paragraph 41 of the Amended Complaint pertain

to Mr. Combs, Defendant denies the allegations in Paragraph 41 of the Amended Complaint. As

to the allegations in Paragraph 41 of the Amended Complaint that pertain to persons other than

Mr. Combs, Defendant lacks knowledge or information sufficient to form a belief as to the truth

of the allegations in Paragraph 41 of the Amended Complaint.

       42.    To the extent the allegations in Paragraph 42 of the Amended Complaint pertain

to Mr. Combs, Defendant denies the allegations in Paragraph 42 of the Amended Complaint. As

to the allegations in Paragraph 42 of the Amended Complaint that pertain to persons other than




                                               8
      Case 1:23-cv-10628-JGLC          Document 82       Filed 01/07/25      Page 9 of 16




Mr. Combs, Defendant lacks knowledge or information sufficient to form a belief as to the truth

of the allegations in Paragraph 42 of the Amended Complaint.

       43.     Defendant denies the allegations in Paragraph 43 of the Amended Complaint.

       44.     Defendant denies the allegations in Paragraph 44 of the Amended Complaint.

       45.     To the extent that the allegations in Paragraph 45 of the Amended Complaint

pertain to Mr. Combs, Defendant denies the allegations in Paragraph 45 of the Amended

Complaint. As to the allegations in Paragraph 45 of the Amended Complaint that pertain to

persons other than Mr. Combs, Defendant lacks knowledge or information sufficient to form a

belief as to the truth of the allegations in Paragraph 45 of the Amended Complaint.

       46.     To the extent that the allegations in Paragraph 46 of the Amended Complaint

pertain to Mr. Combs, Defendant denies the allegations in Paragraph 46 of the Amended

Complaint. As to the allegations in Paragraph 46 of the Amended Complaint that pertain to

persons other than Mr. Combs, Defendant lacks knowledge or information sufficient to form a

belief as to the truth of the allegations in Paragraph 46 of the Amended Complaint.

       47.     To the extent that the allegations in Paragraph 47 of the Amended Complaint

pertain to Mr. Combs, Defendant denies the allegations in Paragraph 47 of the Amended

Complaint. As to the allegations in Paragraph 47 of the Amended Complaint that pertain to

persons other than Mr. Combs, Defendant lacks knowledge or information sufficient to form a

belief as to the truth of the allegations in Paragraph 47 of the Amended Complaint.

       48.     Defendant denies the allegations in Paragraph 48 of the Amended Complaint.

       49.     To the extent the allegations in Paragraph 49 of the Amended Complaint pertain

to Mr. Combs, Defendant denies the allegations in Paragraph 49 of the Amended Complaint. As

to the allegations in Paragraph 49 of the Amended Complaint that pertain to persons other than




                                                9
      Case 1:23-cv-10628-JGLC          Document 82       Filed 01/07/25     Page 10 of 16




Mr. Combs, Defendant lacks knowledge or information sufficient to form a belief as to the truth

of the allegations in Paragraph 49 of the Amended Complaint.

        50.    To the extent the allegations in Paragraph 50 of the Amended Complaint pertain

to Mr. Combs, Defendant denies the allegations in Paragraph 50 of the Amended Complaint. As

to the allegations in Paragraph 50 of the Amended Complaint that pertain to persons other than

Mr. Combs, Defendant lacks knowledge or information sufficient to form a belief as to the truth

of the allegations in Paragraph 50 of the Amended Complaint.

        51.    Defendant denies the allegations in Paragraph 51 of the Amended Complaint.

        52.    To the extent the allegations in Paragraph 52 of the Amended Complaint pertain

to Mr. Combs, Defendant denies the allegations in Paragraph 52 of the Amended Complaint. As

to the allegations in Paragraph 52 of the Amended Complaint that pertain to persons other than

Mr. Combs, Defendant lacks knowledge or information sufficient to form a belief as to the truth

of the allegations in Paragraph 52 of the Amended Complaint.

        53.    To the extent the allegations in Paragraph 53 of the Amended Complaint pertain

to Mr. Combs, Defendant denies the allegations in Paragraph 53 of the Amended Complaint. As

to the allegations in Paragraph 53 of the Amended Complaint that pertain to persons other than

Mr. Combs, Defendant lacks knowledge or information sufficient to form a belief as to the truth

of the allegations in Paragraph 53 of the Amended Complaint.

        54.    To the extent the allegations in Paragraph 54 of the Amended Complaint pertain

to Mr. Combs, Defendant denies the allegations in Paragraph 54 of the Amended Complaint. As

to the allegations in Paragraph 54 of the Amended Complaint that pertain to persons other than

Mr. Combs, Defendant lacks knowledge or information sufficient to form a belief as to the truth

of the allegations in Paragraph 54 of the Amended Complaint.




                                               10
     Case 1:23-cv-10628-JGLC            Document 82        Filed 01/07/25      Page 11 of 16




       55.     To the extent the allegations in Paragraph 55 of the Amended Complaint pertain

to Mr. Combs, Defendant denies the allegations in Paragraph 55 of the Amended Complaint. As

to the allegations in Paragraph 55 of the Amended Complaint that pertain to persons other than

Mr. Combs, Defendant lacks knowledge or information sufficient to form a belief as to the truth

of the allegations in Paragraph 55 of the Amended Complaint.

       56.     The allegations in Paragraph 56 of the Amended Complaint purport to describe

pleadings filed in different litigations; Defendant refers the Court to those documents for a full

and complete recitation of their contents. To the extent that the allegations in Paragraph 56 of

the Amended Complaint pertain to Mr. Combs, Defendant denies the allegations in Paragraph 56

of the Amended Complaint. As to the allegations in Paragraph 56 of the Amended Complaint

that pertain to persons other than Mr. Combs, Defendant lacks knowledge or information

sufficient to form a belief as to the truth of the allegations in Paragraph 56 of the Amended

Complaint.

       57.     The allegations in Paragraph 57 of the Amended Complaint purport to describe

pleadings filed in different litigations; Defendant refers the Court to those documents for a full

and complete recitation of their contents. To the extent the allegations in Paragraph 57 of the

Amended Complaint pertain to Mr. Combs, Defendant denies the allegations in Paragraph 57 of

the Amended Complaint. As to the allegations in Paragraph 57 of the Amended Complaint that

pertain to persons other than Mr. Combs, Defendant lacks knowledge or information sufficient to

form a belief as to the truth of the allegations in Paragraph 57 of the Amended Complaint.

       58.      To the extent the allegations in Paragraph 58 of the Amended Complaint pertain

to Mr. Combs, Defendant denies the allegations in Paragraph 58 of the Amended Complaint. As

to the allegations in Paragraph 58 of the Amended Complaint that pertain to persons other than




                                                 11
      Case 1:23-cv-10628-JGLC           Document 82       Filed 01/07/25      Page 12 of 16




Mr. Combs, Defendant lacks knowledge or information sufficient to form a belief as to the truth

of the allegations in Paragraph 58 of the Amended Complaint.

                                             COUNT I
              Violation of the Victims of Gender Motivated Violence Protection Law,
                        N.Y.C. Admin. Code 10-1101, et seq. (“VGMVPL”)
                                     (Against All Defendants)

        59.      Defendant realleges and incorporates his responses to the preceding Paragraphs as

if fully set forth herein.

        60.      Paragraph 60 of the Amended Complaint states legal conclusions to which no

response is required and cites legislative history from a document that speaks for itself;

Defendant refers to such document for a full and complete recitation of its contents.

        61.      Paragraph 61 of the Amended Complaint states legal conclusions to which no

response is required and cites legislative history from a document that speaks for itself;

Defendant refers to such document for a full and complete recitation of its contents.

        62.      To the extent the allegations in Paragraph 62 of the Amended Complaint contain

factual allegations, Defendant denies the allegations in Paragraph 62 of the Amended Complaint.

To the extent Paragraph 62 of the Amended Complaint states legal conclusions, no response is

required.

        63.      To the extent the allegations in Paragraph 63 of the Amended Complaint contain

factual allegations that pertain to Mr. Combs, Defendant denies the allegations in Paragraph 63

of the Amended Complaint. As to the allegations in Paragraph 63 of the Amended Complaint

that pertain to persons other than Mr. Combs, Defendant lacks knowledge or information

sufficient to form a belief as to the truth of the allegations in Paragraph 63 of the Amended

Complaint. To the extent Paragraph 63 of the Amended Complaint states legal conclusions, no

response is required.



                                                 12
     Case 1:23-cv-10628-JGLC           Document 82        Filed 01/07/25      Page 13 of 16




       64.     To the extent the allegations in Paragraph 64 of the Amended Complaint contain

factual allegations that pertain to Mr. Combs, Defendant denies the allegations in Paragraph 64

of the Amended Complaint. As to the allegations in Paragraph 64 of the Amended Complaint

that pertain to persons other than Mr. Combs, Defendant lacks knowledge or information

sufficient to form a belief as to the truth of the allegations in Paragraph 64 of the Amended

Complaint. To the extent Paragraph 64 of the Amended Complaint states legal conclusions, no

response is required.

       65.     Paragraph 65 of the Amended Complaint states legal conclusions as to entities

that are no longer parties to this litigation, having been dismissed from the lawsuit by order dated

December 5, 2024 (ECF No. 70), to which no response is required. To the extent Paragraph 65

of the Amended Complaint contains factual allegations pertaining to Mr. Combs, Defendant

denies the allegations in Paragraph 65 of the Amended Complaint.

       66.     Paragraph 66 of the Amended Complaint states legal conclusions to which no

response is required. To the extent Paragraph 66 of the Amended Complaint contains factual

allegations pertaining to Mr. Combs, Defendant denies the allegations in Paragraph 66 of the

Amended Complaint.

       67.     Paragraph 67 of the Amended Complaint states legal conclusions to which no

response is required. To the extent Paragraph 67 of the Amended Complaint contains factual

allegations pertaining to Mr. Combs, Defendant denies the allegations in Paragraph 67 of the

Amended Complaint.

       68.     Paragraph 68 of the Amended Complaint states legal conclusions to which no

response is required.

                           RESPONSE TO PRAYER FOR RELIEF

       Defendant, Sean Combs, denies every allegation in the Complaint except those expressly


                                                13
     Case 1:23-cv-10628-JGLC            Document 82         Filed 01/07/25    Page 14 of 16




admitted above, and denies that Plaintiff is entitled to any damages, relief, judgment, award, fees,

or costs whatsoever.

                                  AFFIRMATIVE DEFENSES

       Defendant states the following affirmative defenses and reserves his right to later assert

other and additional defenses, cross-claims, counterclaims, and third-party claims not asserted

herein of which he becomes aware through discovery or other investigation as may be

appropriate. In asserting these affirmative defenses, Defendant does not assume any burden of

proof, persuasion, or production with respect to any issue where the applicable law places the

burden upon another party.

                              FIRST AFFRIMATIVE DEFENSE

      69.      The Amended Complaint fails to state a claim against Defendant upon which

relief can be granted.

                             SECOND AFFRIMATIVE DEFENSE

       70.     Plaintiff’s claim is barred by the statute of limitations.

                              THIRD AFFRIMATIVE DEFENSE

       71.     Plaintiff’s claim is barred because it is preempted by the Child Victims Act

(“CVA”), N.Y. C.P.L. R. § 214-g.

                             FOURTH AFFRIMATIVE DEFENSE

       72.     Plaintiff’s claim is barred by the doctrine of latches.

                              FIFTH AFFRIMATIVE DEFENSE

       73.     Plaintiff’s claim is barred by the doctrine of waiver and/or estoppel.

                              SIXTH AFFRIMATIVE DEFENSE

       74.     Plaintiff has suffered no damages attributable to any wrongful conduct by

Defendant.


                                                 14
      Case 1:23-cv-10628-JGLC            Document 82         Filed 01/07/25       Page 15 of 16




                             SEVENTH AFFRIMATIVE DEFENSE

        75.     If Plaintiff has any injuries or damages, such injuries or damages were the result

of acts of third parties over which Defendant has no responsibility or control. Any damage, loss,

or liability sustained by Plaintiff must be reduced, diminished, and/or barred in proportion to the

wrongful or negligent conduct of persons or entities other than Defendant under the principles of

equitable allocation, set-off, proportionate responsibility, and comparative fault.

                              EIGHTH AFFRIMATIVE DEFENSE

        76.     Plaintiff’s claim is barred to the extent that the provisions of the Victims of

Gender-Motivated Violence Protection Law, N.Y.C. Admin. Code § 10-1101, et seq.

(“VGMVPL”) violate the New York State Constitution and/or the United States Constitution,

including the Due Process Clause in Article 1, Section 6 of the Constitution of the State of New

York.

                               NINTH AFFRIMATIVE DEFENSE

        77.     Plaintiff’s claim is barred by the doctrine of unclean hands.

                               TENTH AFFIRMATIVE DEFENSE

        78.     Plaintiff’s claim is barred by Plaintiff’s failure to mitigate.

                            ELEVENTH AFFIRMATIVE DEFENSE

        79.     Plaintiff is not entitled to recover any punitive damages because Defendant did

not engage in any wrongful conduct, let alone conduct with malice or reckless disregard for

Plaintiff’s rights.

                                 DEMAND FOR A JURY TRIAL

        Defendant Sean Combs demands a jury trial.




                                                   15
    Case 1:23-cv-10628-JGLC   Document 82   Filed 01/07/25     Page 16 of 16




Dated: New York, New York                    Respectfully submitted,
       January 7, 2025
                                              /s/ Erica A. Wolff

                                             Erica A. Wolff
                                             Michael Tremonte
                                             SHER TREMONTE LLP
                                             90 Broad Street, 23rd Floor
                                             New York, New York 10004
                                             Tel.: (212) 202-2600
                                             Fax: (212) 202-4156
                                             ewolff@shertremonte.com

                                             Attorneys for Sean Combs




                                    16
